         Case 15-31150-KLP                    Doc
 Fill in this information to identify the case:
                                                        Filed 04/01/20 Entered 04/01/20 14:45:33                        Desc Main
                                                        Document      Page 1 of 3
B 10 (Supplement 2) (12/11) (post publication draft)
 Debtor 1    Henry L. Smith, Jr.
             __________________________________________________________________


 Debtor 2              ________________________________________________________________
 (Spouse, if filing)

 United States Bankruptcy Court for the: Eastern (Richmond)
                                         ______________________             Virginia
                                                                District of __________
                                                                            (State)
 Case number            15-31150-KLP
                       ___________________________________________




Form 4100R
Response to Notice of Final Cure Payment                                                                                                 10/15

According to Bankruptcy Rule 3002.1(g), the creditor responds to the trustee’s notice of final cure payment.



 Part 1:         Mortgage Information

                              U.S. BANK TRUST NATIONAL ASSOCIATION, AS TRUSTEE OF THE SCIG
                                                                                                             Court claim no. (if known):
 Name of creditor: SERIES III TRUST
                     ______________________________________                                                  9
                                                                                                             _________________
                                                                                      0654
                                                                                      ____ ____ ____ ____
 Last 4 digits of any number you use to identify the debtor’s account:

 Property address:                2 Emerson Street
                                 ________________________________________________
                                 Number     Street

                                 _______________________________________________

                                 Richmond, Virginia 23223
                                 ________________________________________________
                                 City                        State    ZIP Code



 Part 2:         Prepetition Default Payments

  Check one:
  X
       Creditor agrees that the debtor(s) have paid in full the amount required to cure the prepetition default
        on the creditor’s claim.

       Creditor disagrees that the debtor(s) have paid in full the amount required to cure the prepetition default
        on the creditor’s claim. Creditor asserts that the total prepetition amount remaining unpaid as of the date               $ __________
        of this response is:


 Part 3:         Postpetition Mortgage Payment

  Check one:

       Creditor states that the debtor(s) are current with all postpetition payments consistent with § 1322(b)(5) of
        the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.

        The next postpetition payment from the debtor(s) is due on:             ____/_____/______
                                                                                MM / DD / YYYY

  
  X     Creditor states that the debtor(s) are not current on all postpetition payments consistent with § 1322(b)(5)
        of the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.
        Creditor asserts that the total amount remaining unpaid as of the date of this response is:
        a. Total postpetition ongoing payments due:                                                                                 2,740.96
                                                                                                                            (a)   $ __________
        b. Total fees, charges, expenses, escrow, and costs outstanding:                                                +   (b)      0.00
                                                                                                                                  $ __________

        c. Total. Add lines a and b. *Total amount is less a suspense balance of $56.72                                 *(c)        2,684.24
                                                                                                                                  $ __________
        Creditor asserts that the debtor(s) are contractually
        obligated for the postpetition payment(s) that first became             2____/_____/______
                                                                                       26    2020
        due on:                                                                 MM / DD   / YYYY


Form 4100R                                               Response to Notice of Final Cure Payment                                       page 1

                                                                                                               15-718152
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                                                                 Document      Page 2 of 3

Debtor 1        Henry L. Smith, Jr.
                _______________________________________________________                                               15-31150-KLP
                                                                                              Case number (if known) _____________________________________
                First Name      Middle Name               Last Name




 Part 4:       Itemized Payment History


  If the creditor disagrees in Part 2 that the prepetition arrearage has been paid in full or states in Part 3 that the
  debtor(s) are not current with all postpetition payments, including all fees, charges, expenses, escrow, and costs,
  the creditor must attach an itemized payment history disclosing the following amounts from the date of the
  bankruptcy filing through the date of this response:
   all payments received;
   all fees, costs, escrow, and expenses assessed to the mortgage; and
   all amounts the creditor contends remain unpaid.




 Part 5:       Sign Here


  The person completing this response must sign it. The response must be filed as a supplement to the creditor’s
  proof of claim.

  Check the appropriate box::

        I am the creditor.
  
  X
         I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this response is true and correct
 to the best of my knowledge, information, and reasonable belief.
 Sign and print your name and your title, if any, and state your address and telephone number if different
 from the notice address listed on the proof of claim to which this response applies.




               __________________________________________________
                                                                                                      04/01/2020
                     /s/ Abby K. Moynihan, Esq.                                               Date    ____/_____/________
                   Signature




 Print             Abby  K. Moynihan, Esq.
                   _________________________________________________________                  Title    Attorney for creditor
                                                                                                      ___________________________________
                   First Name                      Middle Name         Last Name




 Company            McCabe, Weisberg & Conway, LLC
                   _________________________________________________________



 If different from the notice address listed on the proof of claim to which this response applies:



 Address           312 Marshall Ave, Suite 800
                   _________________________________________________________
                   Number                 Street


                    Laurel, MD 20707
                   ___________________________________________________
                   City                                                State       ZIP Code



                     301        490           3361                                                  bankruptcyva@mwc-law.com
 Contact phone     (______) _____– _________                                                  Email ________________________




Form 4100R                                                        Response to Notice of Final Cure Payment                                       page 2
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                                 CERTIFICATE OF SERVICE

I hereby certify that on the 1st day of April, 2020 I reviewed the Court’s CM/ECF system and it

reports that an electronic copy of the foregoing pleading will be served electronically by the

Court’s CM/ECF system on the following:


Kimberly Alice Chandler
Chandler Law Firm
P.O. Box 17586
Richmond, VA 23226

Suzanne E. Wade
7202 Glen Forest Drive, Ste. 202
Richmond, VA 23226


I hereby further certify that on the 1st day of April, 2020, a copy of the foregoing pleading was

also mailed first class mail, postage prepaid to:


Henry L. Smith, Jr.
2 Emerson Street
Richmond, VA 23223
(Via U.S Mail)
                                              /s/ Abby K. Moynihan, Esq.
                                              Abby K. Moynihan, Esq.
